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Expert Witness Curriculum Vitae of Nigel Jones. 10087 Masser Rd, Frederick MD 21702
                                       Updated November 18, 2023


                                                   Summary

An expert witness in embedded systems including both software and hardware. Extensive experience in
telecommunications. Extensive experience in reverse engineering and secure systems. Excellent
communication skills. Admitted in U.S. District Court and the ITC as a testifying expert witness on multiple
occasions.



                                             Present Activities

R.M.B. Consulting Inc., President 1995 – Present

Representative Expert Witness Work

        ▪    Hardware and software review of smart phones to understand their functionality and to see if
             the devices are infringing on patent claims.
        ▪    Software review of LTE base stations to understand their functionality and to see if the devices
             are infringing on patent claims.
        ▪    Hardware and software review of a system used to circumvent the rights of copyright holders.
        ▪    Reverse engineering of Television Set Top Box hardware and software for evidence that the
             devices were designed for piracy.
        ▪    Code review of engine control modules (ECM) to determine if the ECM can cause unintended
             acceleration.
        ▪    Code review to understand product security mechanisms.

Representative Design Work

        ▪    Matlab & Simulink modeling of a novel form of digital modulation.
        ▪    Design and implement multiple device drivers for complex Integrated circuits used in the
             Telecommunications industry.
        ▪    Design and implementation of firmware to control two different Microwave radios.
        ▪    Hardware design of a system for use on surface mount production lines.
        ▪    Design of a highly fault tolerant, distributed data acquisition and control, system for a rebreather.
             Responsibilities included system architecture, hardware design and layout, embedded firmware,
             documentation.




                    Nigel Jones. najones@rmbconsulting.us. +1 301 865 0760
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       ▪   Redesign of a large LCD panel. Project required reverse engineering of an existing product,
           together with hardware and firmware design.
       ▪   Hardware & firmware for controlling a unique, battery powered diesel burner. This involved the
           control and sequencing of various motors, power management, safety interlocks, and user
           interface.


                                                  Patents

   Method and Apparatus for Detecting Impedance, U.S. Patent No. 7,259,572

   Method and Apparatus for Brightness Control of Indication Lights, U.S. Patent No. 7,477,158

   Oxygen Control in Breathing Apparatus, U.S. Patent No. 8,800,344

   Auto calibration / validation of oxygen sensor in breathing apparatus, U.S. Patent No. 8,820,135

   Methods and Systems for Communicating, U.S. Patent No. 8,861,327

   Software Defined Radio, U.S. Patent No. 8,995,546

   Communication Techniques exploiting spiral-based waveform design flexibility. U.S Patent No. 9,942,080

   System and Method for Detecting Flame within a Burner. U.S. Patent No. 10,197,276

   Atomization Burner with Flexible Fire Rate. U.S. Patent No. 10,302,299

   Methods and Systems for Transmitting and Receiving Data Using Non-Periodic Functions. U.S Patent No.
      11,240,088

   Atomization Burner with Flexible Fire Rate. U.S. Patent No. 11,796,171


                                                Education

   BSc., Electrical and Mechanical Engineering, Brunel University, London, 1983. Graduated with first class
   honours.


                                              Memberships

   Senior member IEEE. Member of the Communications Society


                                               Publications


Articles and Papers

   Jones, Nigel. “Efficient C Code for 8-bit Microcontrollers,” Embedded Systems Programming, Nov 1998.


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   Jones, Nigel. “Arrays of Pointers to Functions,” Embedded Systems Programming, May 1999.

   Jones, Nigel. “Controlling the Transmit Enable Line on RS-485 Transceivers,” Embedded Systems
       Programming, Aug 1999.

   Jones, Nigel. “In Praise of the #error Directive,” Embedded Systems Programming, Sep 1999.

   Stone, am Ende, Wefer, and Jones. “Automated 3D Mapping of Submarine Tunnels,” Robotics 2000:
       ASCE Conference on Robotics for Challenging Environments, Feb 2000.

   Jones, Nigel. “A ‘C’ Test: The 0x10 Best Questions for Would-be Embedded Programmers,” Embedded
       Systems Programming, May 2000.

   Jones, Nigel. “Support Multiple Languages,” Embedded Systems Programming, Feb 2001.

   Jones, Nigel. “Introduction to C’s Volatile Keyword,” Embedded Systems Programming, Jul 2001.

   Jones, Nigel. “Introduction to Lint,” Embedded Systems Design, May 2002.

   Jones, Nigel. "MISRA C Guidelines," Embedded Systems Design, Jul 2002

   Jones, Nigel. “Introduction to MISRA-C,” Embedded Systems Design, Jul 2002.

   Jones, Nigel. “Optimal C Constructs for the 8051,” Embedded Systems Design, Nov 2002.

   Jones, Nigel. “Learn a New Trick with the offsetof() Macro,” Embedded Systems Design, Mar 2004.

   Jones, Nigel. “Minimizing ISR Overhead,” Embedded Systems Design, Jan 2007.

   Sieber, Jones, et. al. “Embedded Systems in the Poseidon MK6 Rebreather,” WISES 2009, Jun 2009.

   Jones, Nigel. "PO2 Sensor redundancy". Rebreather Forum 3 Proceedings pp. 193-202. ISBN #978-0-
       9800423-9-9


Blog

       Stack Overflow. Archive available at http://www.embeddedgurus.com/stack-overflow/




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                                                     Expert Witness Engagements

▪         Testimony at deposition in United States District Court for the Southern District of West Virginia Charleston Division in Philips North
America LLC v. Probo Medical LLC, Case No: 2:21-CV-00298. Disposition: Pending.
▪         Testimony at deposition and at trial in United States District Court for the Eastern District of Texas Marshall Division in Evolved Wireless
LLC v. Samsung Electronics Co., Ltd. Case No: 2:21-CV-00033-JRG. Disposition: Patent valid, but not infringed.
▪          Testimony at deposition in the ITC, in the matter of Certain Audio Players And Components Thereof II. Investigation number 337-TA-
1329. I was retained by Complainant, Google, LLC. Disposition: Pending.
▪         Testimony at deposition in United States District Court For The Western District of Texas in Streamscale, Inc., v. Cloudera, Inc., Case No.
6:21-cv-00198-ADA. Disposition: Jury awarded $240m.
▪           Testimony at deposition and at the Evidentiary Hearing in the ITC, in the matter of Certain Audio Players And Components Thereof II.
Investigation number 337-TA-1330. I was retained by Complainant, Google, LLC. Disposition: No violation found.
▪          Testimony at deposition and at a Markman hearing in United States District Court for the District of Delaware in Fraunhofer-Gesellschaft
Zur Förderung Der Angewandten Forschung E.V. v. Sirius XM Radio Inc. Case No: 17-cv-00184-JFB-SRF. Disposition: Summary judgement for defendant.
▪           Testimony at deposition in United States District Court For Northern District Of California San Francisco Division in Dish Network L.L.C..,
v. JadooTV, Inc et al. Case No. 3:20-cv-01891-CRB (LB). Disposition: Summary judgement for plaintiff on all counts.
▪          Testimony at deposition in United States District Court For Eastern District Of Texas Marshall Division in TQ Delta, LLC., v. Commscope
Holding Company, Inc., Commscope, Inc., Arris US Holdings, Inc., Arris Solutions, Inc., Arris Technology, Inc., And Arris Enterprises, LLC, Case No. 2:21-cv-
310. Disposition: Split decision. Four of seven patents were found to be valid and infringed. Plaintiff had sought $96m. The jury awarded them $11m
▪          Testimony at deposition in United States District Court For The Northern District of California in FIRSTFACE CO., LTD. v. Apple INC., Case
No.3:18-cv-02245-JD. Disposition: Pending.
▪        Testimony at deposition and at the Evidentiary Hearing in the ITC, in the matter of Certain Wet Dry Surface Cleaning Devices. Investigation
number 337-TA-1304. I was retained by Respondent, Tineco Intelligent Technology Co. Ltd. Disposition: No violation found.
▪          Testimony at deposition in the ITC, in the matter of Certain Barcode Scanners, Mobile Computers with Barcode Scanning Capabilities, Scan
Engines, and components thereof. Investigation number 337-TA-1285. I was retained by Respondent, Zebra Technologies. Disposition: Settled.
▪          Testimony at deposition in the ITC, in the matter of Certain LTE-Compliant Cellular Communication Devices. Investigation number 337-
TA-1253. I was retained by Complainant, Evolved Wireless. Disposition: Complaint withdrawn.
▪          Testimony at deposition and at the Evidentiary Hearing in the ITC, in the matter of Certain Routers, Access Points, Controllers, Network
Management Devices, Other Networking Products, And Hardware And Software Components Thereof. Investigation number 337-TA-1227. I was
retained by Complainant, Q3 Networking. Disposition: Under appeal.
▪          Testimony at deposition in the ITC, in the matter of Certain Electronic Stud Finders, Metal Detectors, And Electrical Scanners. Investigation
number 337-TA-1221. I was retained by Respondent, Stanley, Black & Decker. Disposition: Summary judgement in favor of Respondent on one patent.
No violation found on remaining patent.
▪          Testimony at deposition in United States District Court Southern District of New York in American Broadcasting Companies, Inc., Disney
Enterprises, Inc., Twentieth Century Fox Film Corporation, CBS Broadcasting Inc., CBS Studios Inc., Fox Television Stations, LLC, Fox Broadcasting
Company, LLC, NBCUniversal Media, LLC, Universal Television LLC, And Open 4 Business Productions, LLC., V. David R. Goodfriend And Sports Fans
Coalition NY, Inc., Case No. 19-cv-7136. Disposition: Consent Judgement and Permanent Injunction against Defendant.
▪        Testimony at P.I. hearing in United States District Court For the District of Arizona in United States of America v. Gear Box Z, Inc.., Case No.
CV-20-08003-PHX-JJT. Disposition: PI granted. Summary judgement was subsequently awarded.
▪         Testimony at deposition in United States District Court For Eastern District Of Texas Marshall Division in Clear Imaging Research, LLC., v.
Samsung Electronics Co. Ltd. and Samsung Electronics America, INC., Case No. 2:19-cv-00326-JRG. Disposition: Settled.
▪           Testimony at deposition in United States District Court For Eastern District Of Texas Marshall Division in OPTIS WIRELESS TECHNOLOGY,
LLC. et al, v. APPLE INC., Case No. 2:19-cv-66-JRG. Disposition: Jury found willful infringement and awarded judgement of $506.2m for past
infringement.
▪          Testimony at deposition in United States District Court For The District Of Delaware in ALIGN TECHNOLOGY, INC., v. 3SHAPE A/S, 3SHAPE
TRIOS A/S, and 3SHAPE INC., Case No. 1:17-cv-01646-LPS. Disposition: Settled.
▪        Testimony at trial in The United States District Court For The District Of Delaware in 3G LICENSING, S.A., KONINKLIJKE KPN N. V., and
ORANGE S.A., v. HTC CORPORATION Case No. l 7-cv-83-LPS-CJB. Disposition: 10M judgement.
▪        Testimony at deposition in United States District Court Southern District of California in RE: Qualcomm litigation. Case No. 3:17-cv-00108-
GPC-MDD and 3:17-cv-01010-GPC-MDD. I represented Qualcomm. Disposition: Settled.
▪        Testimony at deposition and at evidentiary hearing in the ITC, in the matter of Certain subsea telecommunications systems and
components thereof. Investigation number 337-TA-1098. I was retained by Complainant, Xtera. Disposition: No violation found.




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▪         Testimony at deposition in United States District Court For The Eastern District Of Texas Tyler Division in Cellular Communications
Equipment LLC. V. HTC Corporation et al. Case No.: 6:16-cv-00363-KNM. Disposition: Settled.
▪            Testimony at deposition in United States District Court Central District Of California Western Division in Guangzhou Media American Co.
Ltd., A California Corporation, D/B/A Sky Link TV USA v. ITALK GLOBAL COMMUNICATIONS, INC., a Texas corporation d/b/a ITALKBB; ITALKTV HONG
KONG LIMITED, a Hong Kong corporation; and TIGERTECH MEDIA INC., a California corporation. Case No.: 2:17-cv-03323-JFW. Disposition: Settled.
▪         Testimony at deposition in United States District Court For The Eastern District Of Texas Tyler Division in Cellular Communications
Equipment LLC. V. HTC Corporation et al. Case No.: 6:16-cv-00475. Disposition: Settled.
▪         Testimony at deposition in United States District Court Eastern District of Texas Marshall Division in Cellular Communications Equipment
LLC v. AT&T Inc.. et al. Case No: 2:15-CV-000576. Disposition: Settled.
▪         Testimony at deposition and at trial in United States District Court Eastern District of Texas Tyler Division in Cellular Communications
Equipment LLC v. Apple Inc. et al. Case No: 6:14-CV-000251. Disposition: Jury found willful infringement and awarded judgement of $22.1m for past
infringement.
▪            Testimony at deposition and at trial in United States District Court Eastern District of Texas Tyler Division in Adaptix, Inc v. Alcatel-Lucent
USA, Inc. et al. Case Nos: 6:12-cv-00022, 6:12-cv-00122, 6:12-cv-00123. Disposition: Jury found for defendant.
▪         Testimony at deposition and at trial in US District Court for the Central District of California in EchoStar Satellite Corporation, et al. v. NDS
Group PLC et al., Case No. SA CV 03-950 DOC(JTL). Disposition: Jury found for defendant on the majority of allegations, awarding plaintiffs just $45.69
in damages. Plaintiff had sought $1.6B in damages. Costs of $14m awarded to defendant.
▪          Testimony at deposition in United States District Court Central District of California in Fox Television Stations, Inc., et al. v. FilmOnX et al.
Case Nos: CV12-6921-GW(JCx), CV12-6950-GW(JCx). Also in United States District Court For the District of Columbia, Case No: 13-758-RMC.
Disposition: Settled.
▪          Testimony at deposition in United States District Court Northern District of California San Jose Division in Adaptix, Inc., v. Apple, Inc., et al.
Case Nos: 5:13-cv-1776, 5:13-cv-1777, 5:13-cv-1778, 5:13-cv-1844, 5:13-cv-2023. Disposition: Summary judgement for defendant.
▪          Testimony at deposition in United States District Court Eastern District of Texas Tyler Division in CELL AND NETWORK SELECTION LLC.
v. AT&T, Inc., AT&T Mobility LLC, MetroPCS Communications, Inc., MetroPCS Wireless, Inc., MetroPCS Texas, LLC, ZTE Corporation, ZTE (USA) Inc., and
ZTE Solutions, Inc. Case Nos: 6:13-cv-00403, 00404. Disposition: Settled.
▪          Testimony at deposition in United States District Court Eastern District of Texas Tyler Division in Adaptix, Inc v. Ericsson, Inc.,
Telefonaktiebolaget LM Ericsson, et al. and Adaptix, Inc., v. T-Mobile Communications LLC Case Nos: 6:13-cv-49, 6:13-cv-50, 6:13-cv-369. Disposition:
Settled.
▪          Testimony at deposition in United States District Court Northern District of California San Jose Division in Adaptix, Inc., v. Apple, Inc., Cellco
Partnership d/b/a Verizon Wireless, AT&T, Inc., AT&T Mobility LLC. Case Nos: 5:13-cv-1776,          5:13-cv-1844,      6:12-cv-0020,        6:12-cv-0120.
Disposition: Summary judgement for defendant.
▪          Testimony at deposition in United States District Court Northern District of California San Jose Division in Adaptix, Inc., v. AT&T, INC., AT&T
Mobility LLC, HTC Corporation and HTC America, INC. Case Nos: 5:13-cv-01844-PSG, 5:13-cv-01778-PSG. Disposition: Unknown.
▪          Testimony at deposition in the ITC in Certain Wireless Communications Base Stations and Components Thereof. Inv. No. 337-TA-871.
Disposition: Complaint withdrawn. I was retained by Complainant, Adaptix.
▪         Testimony at deposition in Ontario Superior Court of Justice in DISH Network et al. vs. Angel Electronics Inc. et al., Case No. CV-10-8790-
00CL. Disposition: Unknown.
▪            Testimony at deposition and at trial in US District Court for the Eastern District of New York in Point4 Data Corporation and Dynamic
Concepts, Inc. vs. Tri-State Surgical Supply & Equipment Ltd, et al. Case number 11 CV 0726 (RJD). Disposition: Most of complaint dismissed on
summary judgement. Of the remaining issues, defendant won 4 out of 5 at trial. Plaintiff was awarded $10,017, having initially sought tens of millions
of dollars in damages.
▪         Testimony at deposition in US District Court for the Central District in Estate of Ida St. John v. Toyota Motor Corporation ,et al., Case No:
8:10-cv-01460-JVS-FMO. Disposition: Settled.
▪         Testimony at deposition in US District Court for the Central District in Shirlene Van Alfen, et. al. v. Toyota Motor Sales, U.S.A., Inc., Case No:
CV11-08120JVS. Disposition: Settled under confidential terms. Six expert reports were simultaneously filed for plaintiffs in Toyota Motor Corp.
Unintended Acceleration, Marketing, Sales Practices, and Products Liability Litigation, Case No: 8:10ML2151 JVS. Disposition: Settled for $1.2B.
▪           Testimony at hearing in WV District Court, Hunington Division in Johnson v. Ford Motor Company, Case No. 3:13-cv-6529
▪          Declarations in US District Court, District of South Carolina, Columbia Division in The United States of America ex rel. Jerald R. Conte and
Catherine Brtva v. Blue Cross and Blue Shield of South Carolina et al., Case No: 3:13-CV-02251-CMC. Disposition: Complaint withdrawn.
▪          Declaration in US District Court, Eastern District of Texas, Marshall Division in Iris Connex, LLC v. Acer America Corp., et al., Case No: 2:15-
cv-1909. Disposition: Summary judgement for defendants.
▪          Expert report in the High Court of the Hong Kong Special Administrative Region Court of First Instance Intellectual Property Proceedings
No. 29 of 2019 between Nagravision SA and Zhuhai Gotech Intelligent Technology Company Ltd., et al.



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▪           Expert report in United States District Court Eastern District of Texas in SolIP v. AT&T Mobility LLC, Case No. 2:18-cv-00526. Disposition:
Settled.
▪        Expert report in U.S.D.C., Southern District of California in Qualcomm Incorporated. v. Apple Incorporated, Case No. 3:17-CV-1375-DMS-
MDD. Disposition: Settled on terms favorable to Qualcomm..
▪            Expert report in U.S.D.C., Central District of California in Webspectator Corp. v. Parreira, et al. et al., Case No. 17-cv-03921-PA-JEM (C.D.
Cal.),. Disposition: Summary judgement for plaintiff.
▪          Expert report in US District Court for the Southern District of New York in WNET et al., vs. Aereo Inc.., Case No: 12-civ-1540(AJN).
Disposition: Supreme Court ruling in favor of plaintiffs.
▪        Expert report in US District Court for the Southern District of California in EchoStar Satellite LLC et al., vs. Sonicview et al., Case No: 09-cv-
1553-L(WVG). Disposition: $65m summary judgment.
▪          Expert report in US District Court for the Southern District of California in EchoStar Satellite LLC et al., vs. Christopher Whitcomb et al., Case
No. 11-cv-0333-W-RBB. Disposition: PI and summary judgment granted
▪         Expert report in US District Court for the Central District of California in EchoStar Satellite LLC et al., vs. Warren Edwin Scheibe., Case No:
2:10-cv-04561-SJO_E. Disposition: $25m agreed judgment.
▪         Expert report in US District Court for the Southern District of California in EchoStar Satellite LLC et al., vs. Viewtech, Inc and Jung Kwak, Case
No: 07cv1273 BEN (WVG). Disposition: $214m summary judgment.
▪          Expert report in US District Court for the District of New Jersey in EchoStar Satellite LLC et al., vs. Sonysat LLC et al., Case No: 10-cv-01337-
FSH-PS. Disposition: TRO and seizure granted. Case settled.
▪          Expert report in Ontario Superior Court of Justice in DISH Network et al. vs. Ravin Ramkissoon. et al., Case No. 09-CL-8091-00CL.
Disposition: Anton Pillar request granted. Defendant jailed for contempt.
▪           Expert report in Eutronix v. Texas Embedded Solution. Disposition: Plaintiff withdrew case after submission of expert report.
▪         Expert report in US District Court for the Central District of California in EchoStar Satellite LLC et al., vs. Global Technologies Inc,. Case No:
2:07-CV-05897-JZ-PLA. Disposition: $626m summary judgment.
▪         Expert report in US District Court for the Northern District of California in EchoStar Satellite LLC et al., vs. Freetech Inc., Case No: CV-07-
6124 (JW) (RS). Disposition: $106m agreed upon judgment.
▪         Expert report in US District Court for the Central District of California in EchoStar Satellite LLC et al., vs. Panarex Inc., Case No: CV07-5897
GPS (PLAx). Disposition: $121.7m agreed upon judgment.
▪          Multiple expert reports for plaintiff DirecTV in a wide ranging series of cases against end users that were alleged to have been pirating
DirecTV’s signal. Disposition: Verdicts favorable to the plaintiff in almost all cases.




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MY ACCOUNT (/my-account)




  Your Billing Details

  Billing History
              Date                  Transaction                Invoice         Amount



                     Sep 08, 2023   One Month - WEB ONLY +         271131571       $ 275.91
                                            Extras

                                                Acorn                               $ 6.99
                                                AMC+                                $ 8.99
                                                 BET+                               $ 10.00
                                           Carnegie Hall+                            $ 7.99
                                               CineFest                             $ 5.00
                                              Cocina On                             $ 3.00
                                         Comedy Dynamics                            $ 5.00
                                        Entertainment Extra                          $ 1.80
                                        Entertainment Extra                          $ 1.80
                                                CONtv                               $ 5.00
                                          Curiosity Stream                          $ 3.00
                                              Desi Binge                            $ 10.00
                                        discovery+ (Ad Free)                        $ 6.99
                                              Docurama                              $ 5.00
                                               DOGTV                                $ 5.00
                                            Sling Orange                            $ 27.50
                                          Sling Freestream                          $ 0.00
                                           Dove Channel                             $ 5.00
                                                 DOX                                $ 3.00
                                                MGM+                                $ 5.00
                                              FlixLatino                            $ 3.99
                                                Gallery                             $ 5.00
                                          Kartoon Channel!                          $ 4.00
                                               Grokker                              $ 7.00
                                       Hallmark Movies Now                          $ 6.00
                                           Heartland Extra                           $ 1.80
                                           Heartland Extra                           $ 1.80
                                               Here TV                              $ 8.00
                                          Hollywood Extra                            $ 1.80
                                          Hollywood Extra                            $ 1.80
                                               Hopster                              $ 5.00
                                              Kids Extra                             $ 1.80
                                              Kids Extra                             $ 1.80
                                           Lifestyle Extra                           $ 1.80
                                           Lifestyle Extra                           $ 1.80
                                          Magnolia Selects                          $ 5.00
                                       Monsters & Nightmares                        $ 3.00
                                         NBA League Pass                            $ 14.99
                                        Outside TV Features                          $ 1.99
                                              DVR PLUS                               $ 1.80
                                            SHOWTIME®                               $ 10.00
                                          Sling Freestream                          $ 0.00
                                              Sling Blue                            $ 27.50
                                             Sports Extra                            $ 1.80
                                             Sports Extra                            $ 1.80
                                                STARZ                               $ 9.00
                                               ALLBLK                               $ 5.99
                                            ViX Premium                             $ 6.99
                                        Warriors & Gangsters                        $ 3.00
                                             News Extra                              $ 1.80
                                             News Extra                              $ 1.80
                                                 Taxes                              $ 0.00
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         (/)
                                Aug 08, 2023      One Month - WEB ONLY +        268685958   $ 274.91
                                                          Extras




                                Jul 08, 2023      One Month - WEB ONLY +        266593722   $ 274.91
                                                          Extras




                                Jun 08, 2023      One Month - WEB ONLY +        264398313   $ 274.91
                                                          Extras




                                May 08, 2023      One Month - WEB ONLY +        261901491   $ 274.91
                                                          Extras




                                May 01, 2023      One Month - WEB ONLY +        260853190    $ 0.00
                                                          Extras




                                May 01, 2023       Refund for [standalone]      260853151   - $ 10.99
                                                     discovery+ + Extras




                                May 01, 2023       Refund for [standalone]      260853045   - $ 10.99
                                                     discovery+ + Extras


                                                                    Load More




Shop

Services (/service)

Sling Orange (/service/sling-orange)

Sling Blue (/service/sling-blue)

Add-ons (/service/extras)

Streaming Services (/service/premium-streaming)

Offers (/deals)

Gift Cards (/deals/gift-card)

Promo Codes (/deals/promo)




Watch

Freestream (/freestream)

Channels (/channels)
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